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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

MINUTE ENTRY:
APRIL 30, 2020
CHIEF DISTRICT JUDGE SHELLY D. DICK

DANIEL GUMNS, ET AL.                                                  CIVIL ACTION

VERSUS
                                                                      20-231-SDD-RLB
JOHN BEL EDWARDS, ET AL.


         Due to the current national emergency caused by the COVID-19 virus, this matter

came on this day for a hearing on Plaintiffs’ Emergency Motion for Temporary Restraining

Order.1


          PRESENT: Mercedes Montagnes, Esq.
                   Jared Davidson, Esq.
                   Jamila Johnson, Esq.
                   Nishi Kumar, Esq.
                   Sharon Frase, Esq.
                   Lacey Bangle, Esq.
                   Counsel for Plaintiffs

                       Andrew Blanchfield, Esq.
                       Jonathan Vining, Esq.
                       Keith Fernandez, Esq.
                       Zelma Frederick, Esq..
                       Brent Hicks, Esq.
                       David McKay, Esq.
                       Randy Robert, Esq.
                       Connell Archey, Esq.
                       Counsel for Defendant

          Counsel make appearances.

          Plaintiffs move for the sequestration of fact witnesses and the Court grants the

Motion.


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    Rec. Doc. 15.
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       Plaintiffs and Defendants all waived appearances and consented to proceed via

video conference.

       Defendants’ exhibits 1 through 55 are admitted without objection subject to

redaction or filing under seal to accommodate protected health information.

       Plaintiffs’ exhibits 1 through 15, 24, 25, and 27 through 37 are admitted without

objection.

       Witness number 1 is presented via Declaration dated 4/29/2020 (Plaintiffs’ Exhibit

49) in lieu of live testimony.

       Witness number 2 is sworn and testifies.

       Witness number 3 is sworn and testifies.

       Witness number 4 is sworn and testifies.

       Plaintiffs rest.

       Defendants move for a Judgment of Partial Findings under Federal Rule of Civil

Procedure 52(c). Court denies the Motion because evidence was presented that calls

the conditions of Camp J into question as to whether they are constitutionally satisfactory

as it relates to the conditions of confinement of COVID-19 patients.

       Defense witness number 1 is sworn and the tender is denied as a correctional

medicine expert but is granted to give opinion testimony as an expert in general medicine

and surgery. The witness testifies and is cross examined.

       Defense witness number 2 is sworn, testifies, and is cross examined.

       Defense witness number 3 is sworn, testifies, and is cross examined.

       Defense rests.
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      Plaintiffs call a rebuttal witness who is sworn, tendered and accepted as an expert

witness in the fields of correctional medicine and the care and treatment of patients with

COVID-19 with no objection, and who testifies and is cross examined.

      Court orders post-trial briefs, not to exceed twenty (20) pages, due by 5:00 p.m.

Monday, 5/4/2020.

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Cv25c/5.75
